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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION


  STATE OF TEXAS,
                Plaintiff,
  PLANO CHAMBER OF COMMERCE et al.,                   Case No. 4:24-cv-499-SDJ
                                                      (Lead Case)
                Plaintiffs,
         v.                                           Case No. 4:24-cv-468-SDJ

  U.S. DEPARTMENT OF LABOR et al.,
                Defendants.


                                    NOTICE OF APPEAL

        Please take notice that all Defendants hereby appeal to the U.S. Court of Appeals for the

 Fifth Circuit from this Court’s Final Judgment, ECF No. 77, entered in this action on November

 15, 2024, as well as all prior orders and decisions that merge into the judgment, including the

 Court’s November 15, 2024, Memorandum Opinion and Order, ECF No. 76.

 November 26, 2024                                Respectfully submitted,

                                                  BRIAN M. BOYNTON
                                                  Principal Deputy Assistant Attorney General

                                                  JULIE STRAUS HARRIS
                                                  Assistant Director, Federal Programs Branch

                                                  /s/ Christine L. Coogle
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